 Case 8-18-72034-las            Doc 13-1       Filed 04/05/18    Entered 04/05/18 09:28:14




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In re:                                                     Chapter 13
         ROBERT M. GEORGE,                                 Case No.: 18-72034-las
                                    Debtor.
------------------------------------------------------X    AFFIDAVIT OF SERVICE
STATE OF NEW YORK)
                                  ss.:
COUNTY OF SUFFOLK)

        COOPER J MACCO, being duly sworn, deposes and says: Deponent is not a
party to the action, is over 18 years of age and resides in Suffolk County, New York.
        On April 3, 2018, I served the within Loss Mitigation Request – By Debtor
upon the following parties at the addresses designated by said parties for that purpose, by
depositing a true copy of same, enclosed in a post-paid properly addressed wrapper in an
official depository under the exclusive care and custody of the United States Postal
Service within the State of New York:

Via Certified Mail
Address On IRS 4506 Form
Caliber Home Loans
13801 Wireless Way
Oklahoma City, Ok 73134

Defense Attorney In Debtor’s Foreclosure Action
Cohn & Roth, LLC
Attorney for Caliber Home Loans
100 East Old Country Road
Mineola, NY 11501
Attn: Michael C. Nayar

NY Secretary Of State Addresses
Caliber Home Loans
c/o CT Corporation System
111 8th Ave
New York, New York, 10011

Caliber Home Loans, Inc.
Attn: Aubrey Meyers
3701 Regent Blvd, Ste 200
Irving, Texas, 75063
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Caliber Home Loans
C/O The Corporation Trust Co.
277 Park Ave.
New York, New York, 10017

VIA FIRST CLASS MAIL
Marianne DeRosa
Standing Chapter 13 Trustee
125 Jericho Tpke
Suite 105
Jericho, NY 11753

United States Trustee
Long Island Federal Courthouse
560 Federal Plaza - Room 560
Central Islip, NY 11722-4437
                                                  /s/ Cooper J Macco
                                                  COOPER J MACCO

Sworn to before me this
3rd day of April, 2018

/s/ Loni Bragin
NOTARY PUBLIC
Loni Bragin
Notary Public, State of New York
No. 01BR6172194
Qualified in Suffolk County
Commission Expires August 6, 2019
